                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


 MONICA GARRETT,                                )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )    Civil Action No.: 3:22-cv-00022-RJC-DSC
                                                )
 SEPHORA USA, INC.,                             )
                                                )
                Defendant.                      )
                                                )
                                                )

                                NOTICE OF SETTLEMENT


       Comes now Defendant Sephora USA, Inc., through the undersigned counsel, and notifies

the Court that the parties have recently reached a settlement of this matter. The parties are

finalizing settlement documentation and anticipate filing a Stipulation of Dismissal within 30 days.

       Respectfully submitted this 18th day of March, 2022.



                                              Respectfully submitted,


                                              /s/Meredith F. Hamilton
                                               Meredith F. Hamilton, NC Bar
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                                 CERTIFICATE OF SERVICE

       I, Kelly S. Hughes, hereby certify that I have this day electronically filed the foregoing

NOTICE OF SETTLEMENT with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to the following:

       L. Michelle Gessner (NC Bar #26590)
       Nicole K. Haynes (NC Bar #47793
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       Attorney for Plaintiff



       Dated this the 18th day of March, 2022.



                                              /s/Meredith F. Hamilton
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                                              Attorney for Defendant
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